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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

WYETH LLC,
Plaintiff,

V.
C.A. No. 21-1338-MFK

ee st See

ASTRAZENECA
PHARMACEUTICALS
LP and ASTRAZENECA AB,

Defendants.

ee SS

VERDICT FORM

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INSTRUCTIONS:

When answering the following questions and filling out this Verdict Form, please
follow the directions provided throughout this Verdict Form. Your answer to each question
must be unanimous. Some of the questions contain legal terms that are defined and
explained in detail in the Jury Instructions. Please refer to the Jury Instructions if you are
unsure about the meaning or usage of any legal term that appears in the questions below.

As used in this Verdict Form:

1. "Wyeth" refers to Plaintiff Wyeth LLC.

2. "AstraZeneca" refers collectively to Defendants AstraZeneca

Pharmaceuticals LP and AstraZeneca AB.
3. The "314 patent" refers to U.S. Patent No. 10,603,314.

4. The "162 patent" refers to U.S. Patent No. 10,596,162.

Please proceed to the next page.
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We, the jury, unanimously agree to the answers to the following questions and

return them under the instructions of the Court as our verdict in this case.

Please proceed to Issue No. 1. (Please note that text in bold in this Jury Verdict

form provides instructions to guide you through the Jury Verdict form.)
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ISSUE NO. 1: INFRINGEMENT

Did Wyeth prove by a preponderance of the evidence that AstraZeneca induces
infringement of any of the claims of the '314 patent and '162 patent for the indications of
Tagrisso® listed below?

Please check "Yes" or "No" for each claim. "Yes" is in favor of Wyeth, and "No" is
in favor of AstraZeneca.

Second-Line

YES NO
(for Wyeth) (for
AstraZeneca)
Claim 1 of the '314 patent J

Claim 3 of the '314 patent \/
Claim 9 of the '314 patent J

Claim 1 of the '162 patent

First-Line and Adjuvant

YES NO
(for Wyeth) (for
/ AstraZeneca)
Claim 1 of the '314 patent
Claim 3 of the '314 patent J

Claim 9 of the '314 patent

Claim 1 of the '162 patent

If you answered "Yes" as to any Claim, please proceed to Issue No. 2.
Otherwise, skip Issue No. 2 and proceed to Issue No. 3.
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ISSUE NO. 2: WILLFULNESS

If you answered "Yes" that AstraZeneca has induced infringement of one or more
of the listed claims in Issue No. 1, then did Wyeth prove by a preponderance of the

evidence that AstraZeneca willfully infringed the '314 patent and/or '162 patent?

Yes: No:
(for Wyeth) (for AstraZeneca)

Please proceed to Issue No. 3.
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ISSUE NO. 3: INVALIDITY—LACK OF ENABLEMENT

Did AstraZeneca prove by clear and convincing evidence that any of the claims of
the '314 and '162 patents below is invalid for lack of enablement?
Please check "Yes" or "No" for each claim. "Yes" is in favor of AstraZeneca, and

"No" is in favor of Wyeth.

Yes No
(for AstraZeneca) (for Wyeth)
Claim 1 of the '314 patent ee a
Claim 3 of the '314 patent _ iv
Claim 9 of the '314 patent _ Vv
Claim 1 of the '162 patent _ VV.

Please proceed to Issue No. 4.
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ISSUE NO. 4: INVALIDITY—LACK OF WRITTEN DESCRIPTION

Did AstraZeneca prove by clear and convincing evidence that any of the claims of
the '314 and '162 patents listed below is invalid for a lack of written description?

Please check "Yes" or "No" for each claim. "Yes" is in favor of AstraZeneca, and
"No" is in favor of Wyeth.

Yes No
(for AstraZeneca) (for Wyeth)

Claim 1 of the '314 patent
Claim 3 of the '314 patent

Claim 9 of the '314 patent

Claim 1 of the '162 patent

Please proceed to Issue No. 5.
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ISSUE NO. 5: INVALIDITY—ANTICIPATION

Did AstraZeneca prove by clear and convincing evidence that any of the claims of
the '314 patent listed below is invalid as anticipated?
Please check "Yes" or "No" for each claim. "Yes" is in favor of AstraZeneca, and

"No" is in favor of Wyeth.

Yes No
(for AstraZeneca) (for Wyeth)
/
Claim 1 of the '314 patent V
Claim 3 of the '314 patent V

Claim 9 of the '314 patent

Please proceed to Issue No. 6.
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ISSUE NO. 6: INVALIDITY—OBVIOUSNESS

Did AstraZeneca prove by clear and convincing evidence that any of the claims of

the '314 and '162 patents listed below is invalid as obvious?

Please check "Yes" or "No" for each claim. "Yes" is in favor of AstraZeneca, and

"No" is in favor of Wyeth.

Yes No
(for AstraZeneca) (for Wyeth)
Claim 1 of the '314 patent J
Claim 3 of the '314 patent /

Claim 9 of the '314 patent J

Claim 1 of the '162 patent

Please proceed to the next page.
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If you checked "Yes" for any claims in Issue No. 1, and checked "No" for
those same claims in Issues Nos. 3, 4, 5, and 6, then please proceed to Issue No. 7
on the next page.

In other words, please proceed to Issue No. 7 if you found that AstraZeneca
infringed at least one claim in Issue No. 1 that you found is not invalid in Issue Nos.
3, 4, 5, and 6.

If you found that AstraZeneca did not infringe any valid claims, please

proceed directly to the Final Page of the Verdict form and sign and date that page.
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ISSUE NO. 7: DAMAGES—REASONABLE ROYALTY

What is the total amount of reasonable royalty damages that Wyeth has proven by
a preponderance of the evidence would compensate Wyeth for AstraZeneca's past

infringement through December 31, 2023?

Amount: $ [07 500», OOO

Please proceed to the Final Page of the Verdict Form and sign and date that page.

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Final Page of the Jury Verdict

You have reached the end of the verdict form. Review the completed form to
ensure that it accurately reflects your unanimous determinations. The Foreperson should
then sign and date the verdict form in the space below and notify the Court Security Officer
that you have reached a verdict.

The Foreperson should retain possession of the verdict form and bring it when the

jury is brought back into the courtroom.

Dated: 4-17 - d004f

oreperson

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